                  Case 2:13-cv-00193 Document 775-18 Filed on 11/19/14 in TXSD Page 1 of 2
From                              Rodriguez    Tony
To                                Bodisch   Robert

Sent                              1112013 63416 PM
Subject                           Fwd   locations




FYSA


Tony Rodriguez
Senior Manager

Office   5124245657
Cell   5127399709


Begin forwarded message


From Rodriguez Tony <TonyRodriguezcMpstexasgov>
Date November 1 2013 183230 CDT
To Winkley          Salestus      <SatestusWinkle         cdpstexasgov>         Berkley Johnnie <JohnnieBerkle                                        cdpstexasgov>
Cc Bell Stephen  <StephenBelldpstexasgov>   Watkins                               Paul <PaulWatkinsdpstexas                                        gov> Peters Joe
<JoePetersdpstexasgov>   Mastracchio JoeAnna <JoeAnnaMastracchioc                                                              dpstexasgov>
Subject     Fwd locations

Folks
Dallas County called         SOS at 1620       asking for EIC operations on the dates and locations below
This needs to happen

Let   me know     if   there are roadblocks



Tony Rodriguez
Senior Manager

Office   5124245657
Cell   5127399709


Begin forwarded message


From Wroe Jackson             <SJackson       a sostexasgov>
Date November 1 2013                171407 CDT
To Rodriguez            Tony TonyRodriguezdpstexasgov                     <TonyRodriguez2dpstexasgov>
Cc Keith Ingram <KIngramcsostexas gov>
Subject     FW locations

Tony


Please   see below for the requested            Dallas    County locations and times As we discussed                                  I   would    like   to offer the

following   for   DPS to be present         at the    requested   locations   on Tuesday     5 November through                                 Friday 8 November and

on Tuesday    12 November and            ONLY on our agreed upon hours            of   9 a   m   to   4     pm Please                     let   me know     if   this   is


acceptable



Thanks
Wroe



Wroe Jackson                                                                     2:13-cv-193
                                                                                                          exhibitsticker.com




General Counsel                                                                  09/02/2014
Texas Secretary        of State

                                                                                DEF1453

                                                                                                                                                                             TEX0506734
5124635770                w
                         Case 2:13-cv-00193 Document 775-18 Filed on 11/19/14 in TXSD Page 2 of 2
                                 5124752761                          f
wiacksonasostexasgov


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distribution     of anyinfornation            or materials by or to          anyone    other   than   the recipients       listed   above      is
                                                                                                                                                    prohibited      vwthoutexpress      authorization   from   the   sender



Please note              my new email address effective                                        immediately wjacksonasostexas gov



From Toni PippinsPoole                                   mailtoToniPippinsPoole                  OdaIlascountyorg
Sent Friday November 01 2013 426 PM
To Keith Ingram
Cc Wroe Jackson                  Robert Heard

Subject            RE    locations




Sorry
I

     thought      that Staff        sent            it    to    you
Let       me know        if
                              you have any questions
Toni




                                    JOINT DALLAS COUNTYDPS EIC LOCATIONS FOR
                                                                           November            5th    12th 2013

                                                                                                      Garland      Government Center                                  Tax Office        Main
    North     Dallas     Government Center                                Tax Office
                                                                                                      Lobby Area
    Main Lobby Area
                                                                                                      140   N Garland Avenue
    10056      Marsh Lane
                                                                                                      Garland      Texas            75040

                                                                                                                                                                     pm each week
               Texas     75229
    Dallas
                                                                                                      Time of Operation                    10       am          7
    Time     of Operation         10         am                7   pm each week day                   day



                                                                                                      Dallas    County Health                          Human Services                  Bldg
    Grand      Prairie        Government Center                            Tax Office
                                                                                                      Main Lobby Area
    Main Lobby Area
                                                                                                      2377 N Stemmons Freeway
    106    W Church           Street
                                                                                                                Texas          75207
                                                                                                      Dallas
    Grand Prairie Texas                 75050

    Time                                 am                        pm each week day
                                                                                                      Time of Operation                    9    am          7    pm each week day
                                                                                                           am
             of Operation           8                       5
                                                                                                      10               2    pm       on Saturday                     Sunday




From Keith Ingram mailtoKingramsostexasgov
Sent Friday November 01 2013 325 PM
To Toni PippinsPoole
Cc Wroe Jackson
Subject            locations




Any luck on             locations            Tuesday                through     Friday next week and Tuesday                               the       12th




                                                                                                                                                                                                                         TEX0506735
